Case 2:21-cv-04972-FMO-MAA Document 131 Filed 06/29/23 Page 1 of 3 Page ID #:11513

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.          CV 21-4972 FMO (MAAx)                                Date    June 29, 2023
 Title             Entertainment Studios Networks, Inc., et al. v. McDonald’s USA, LLC




 Present: The Honorable           Fernando M. Olguin, United States District Judge
             Gabriela Garcia                                None                          None
                Deputy Clerk                      Court Reporter / Recorder             Tape No.
             Attorney Present for Plaintiff(s):                Attorney Present for Defendant(s):
                      None Present                                       None Present
 Proceedings:               (In Chambers) Order Re: Application to Exclude Evidence

        Having reviewed and considered all the briefing related to Defendant’s Ex Parte Application
to Exclude Plaintiffs’ Untimely Disclosed Evidence [] (Dkt. 118, “Application”), the court concludes
as follows.

        Defendant seeks to exclude or strike the following from the Joint [] Motions for Partial
Summary Judgment [], (Dkt. 115, “MSJ”): (1) “the Declaration of Mark DeVitre (‘Declaration I’) and
Assignment of Claims (‘Assignment’)”; (2) “the Declaration of Mark DeVitre (‘Declaration II’) and
Ratification of Claims (‘Ratification’)”; (3) “a Declaration from expert witness Tom Nunan (Nunan
Declaration)”; and (4) “Plaintiff’s Statement of Additional Facts[.]” (Dkt. 118, Application at 1).
With respect to the first two filings, defendant argues that they were disclosed in late May 2023,
in violation of Federal Rule of Civil Procedure 37(c)(1) and the Court’s Order of September 16,
2021. (Dkt. 29, Court’s Order of September 16, 2021, at 17) (“All fact discovery shall be
completed no later than March 17, 2022.”).1 These filings concern whether Entertainment Studios
Networks, Inc. (“Entertainment Studios”) – one of the two plaintiffs in this action – was assigned
the rights to pursue claims on behalf of CF Entertainment, Inc., which is not a plaintiff. (See Dkt.
118, Application at 10-12). Plaintiffs argue that “McDonald’s fails to show that Plaintiffs even could
disclose the information or documents, let alone that they were required to do so.” (Dkt. 121,
Plaintiffs’ Opposition to McDonalds’ Ex Parte Application (“Opp.”) at 5). In support of their
argument, plaintiffs aver that they “memorialized the assignment via a written agreement executed
by AMG’s General Counsel, Mark DeVitre, on May 15, 2023, and ESN and CFE executed a
ratification pursuant to Rule 17(a)(3) on May 30, 2023.” (Id. at 7). Because plaintiffs represent
that “these documents were created after the close of fact discovery[,]” the court cannot conclude
that plaintiffs improperly withheld discoverable evidence. (Id. at 8).

    However, these filings include new information that is relevant to defendant’s motion for
summary judgement. (See, e.g., Dkt. 118, Application at 6-8); (Dkt. 115, MSJ at 2) (“Plaintiffs’ [sic]


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         All subsequent “Rule” references refer to the Federal Rules of Civil Procedure. Citations
to the record may be altered without notation.
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                             Page 1 of 3
Case 2:21-cv-04972-FMO-MAA Document 131 Filed 06/29/23 Page 2 of 3 Page ID #:11514

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       CV 21-4972 FMO (MAAx)                                 Date     June 29, 2023
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do not have standing to assert any claims related to syndicated programming owned by a
nonparty[.]”). Accordingly, the court finds that there is good cause to reopen discovery to give
defendant an opportunity to depose Mr. DeVitre. See Zivkovic v. S. California Edison Co., 302
F.3d 1080, 1087 (9th Cir. 2002) (“In general, the pretrial scheduling order can only be modified
upon a showing of good cause.”).

       Next, defendant argues that plaintiffs included a declaration from their expert, Tom Nunan,
(see Dkt. 119-7, Declaration of Amy C. Andrews (“Andrews Decl.”), Exh. G), which contained new
opinions in violation of Rule 26 and the Court’s Order of September 16, 2021. (See Dkt. 29,
Court’s Order of September 16, 2021, at 17) (“All expert discovery shall be completed by May 26,
2022.”). The first opinion that defendant avers is new is Mr. Nunan’s statement that “[n]o two
networks have identical ratings, and yet brands like McDonald’s will consider networks as
alternatives despite differences in ratings.” (Dkt. 118, Application at 21) (internal quotation marks
omitted). Mr. Nunan’s report, however, concludes that a brand’s decision to advertise will turn on
whether two networks have (1) “the same demographic audiences[,]” and (2) “feature the same
programming[.]” (Dkt. 121-1, Declaration of David Schecter (“Schecter Decl.”), Exh. B at 36).
Accordingly, the court concludes that this opinion is not new.

       The second opinion that defendant challenges is Mr. Nunan’s statement that “[r]atings are
a single quantitative factor that inform . . . primarily allocation (i.e., how much to spend on a
network, not whether to spend at all).” (Dkt. 118, Application at 21-22) (internal quotation marks
omitted). However, Mr. Nunan opines that “McDonald’s conduct does not show that ratings are
a determinative factor. . . . Ratings are primarily relevant on the issue of allocation[.]” (Dkt. 121-1,
Schecter Decl., Exh. B at 39). The court concludes that this opinion is also not new.

       Third, defendant challenges Mr. Nunan’s statement that “if one network insists on a brand
paying a premium in terms of price to advertise on the network, a brand can shift its advertising
to other networks[.]” (Dkt. 118, Application at 22) (internal quotation marks omitted). Plaintiffs do
not address whether this opinion is new, (see, generally, Dkt. 121, Opp. at 10-11), and, after
review, the court was unable to locate it in Mr. Nunan’s report. (See, generally, Dkt. 121-1,
Schecter Decl., Exh. B at 42-48). Accordingly, the court will strike this portion of the declaration.

       Finally, defendant argues that Mr. Nunan’s Declaration contains a new opinion that
McDonald’s lacks “a ‘ratings cut-off’ and . . . that even if such a cut-off did exist, ‘none [] are
applied consistently[,]’” new opinions regarding “McDonald’s advertising on Aspire and Revolt[,]”
and a new opinion that “‘courtroom TV shows are among the type of shows the still attract viewers
to linear TV in significant numbers.’” (Dkt. 118, Application at 22-23). After review, the court
agrees that the first and third opinions were not previously disclosed, (see, generally, Dkt. 121-1,
Schecter Decl., Exh. B at 30-39), and will strike them. However, Mr. Nunan’s statements
concerning McDonald’s advertising on Aspire and Revolt appear to simply apply the same
conclusions to different examples and, accordingly, the court will not strike them. (See Dkt. 121-1,
Schecter Decl., Exh. B at 30-39).

CV-90 (06/04)                           CIVIL MINUTES - GENERAL                                 Page 2 of 3
Case 2:21-cv-04972-FMO-MAA Document 131 Filed 06/29/23 Page 3 of 3 Page ID #:11515

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       CV 21-4972 FMO (MAAx)                                Date     June 29, 2023
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       With respect to the additional statement of undisputed facts, the parties’ disagreement
appears to concern the timing of a non-moving party’s additional statement: defendant argues that
the moving party should have 14 days, not two, to respond to such a statement. (Compare Dkt.
118, Application at 25; with Dkt. 121, Opp. at 11-12). At the heart of the disagreement is the
court’s summary judgement scheduling order. (See Dkt. 30, Court’s Order of September 16,
2021, at 4-5). Given the recent modifications to Local Rule 56, see Local Rule 56, June 1, 2023,
Amendments, the court intends to issue a new summary judgment scheduling order, which will
resolve the parties’ confusion.

         Based on the forgoing, IT IS ORDERED THAT:

       1. Defendants’ Ex Parte Application (Document No. 118) is granted in part and denied
in part.

       2. Defendant may serve plaintiff Entertainment Studios, no later than two (2) calendar days
from the filing date of this Order, with two additional requests for production and two (2) additional
interrogatories relating to the assignment. Entertainment Studios shall respond to the additional
requests no later than ten (10) calendar days following service of the requests.

       3. Unless counsel for the parties agree otherwise and in writing, Mark DeVitre’s deposition
shall be taken on Monday, July 10, 2023, at 10:00 a.m. at an office selected by defense counsel
in the City of Los Angeles. The deposition shall not exceed three (3) hours.

       4. The parties’ MSJ (Document No. 115) is stricken. The parties shall refile their motions
for summary judgment no later than 60 days after the issuance of a revised summary judgment
scheduling order by the court. When filing the revised motions for summary judgment, plaintiffs
shall omit the new opinions by Mr. Nunan that were identified above.

       5. Except as set forth above, all other deadlines are vacated pending a ruling on the
parties’ cross-motions for summary judgment.




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CV-90 (06/04)                           CIVIL MINUTES - GENERAL                               Page 3 of 3
